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                        UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF VERMONT


                                                                                             Filed & Entered
                                                                                                On Docket
                                                                                              May 24, 2019
_______________________________
In re:
       Hermitage Inn Real Estate
       Holding Co., LLC                                                  Chapter 7
                    Putative Debtor.                                     Involuntary Case # 19-10214
_________________________________

                                        ORDER
                  AUTHORIZING SHORTENED NOTICE, SETTING DEADLINES, AND
            SETTING HEARING ON EMERGENCY MOTION UNDER 11 U.S.C. § 303(f)&(g) TO
 RETAIN    STATE COURT APPOINTED RECEIVER OR APPOINT CHAPTER 7 TRUSTEE FOR GAP PERIOD
        AFTER DUE CONSIDERATION of the Motion for Emergency Hearing, filed by Berkshire
Bank (the “Bank”) at 3:30 PM on May 24, 2019 (doc. # 7), in which it seeks an Order either retaining
the State Court appointed receiver, or appointment of a chapter 7 trustee, to serve during the gap period
in this involuntary case, THE COURT FINDS the Bank has alleged emergency circumstances, set forth
good cause for a hearing on an expedited basis and proposed two alternative types of relief that might be
                                                  that that
warranted if it proves the facts it alleges, and that   all creditors  and and
                                                             all creditors parties in interest
                                                                               parties         mustmust
                                                                                        in interest be given
                                                                                                        be given
at least 24-hours notice of the hearing and an opportunity to respond and appear at the hearing.
    Therefore IT IS HEREBY ORDERED that:
1. The Bank’s request for an emergency hearing is GRANTED and the Court will hold an evidentiaryy
  hearing on the Berkshire Bank’s Emergency Motion on shortened notice.
2. The Bank shall (a) serve this Order, with a notice of motion, via electronic mail, fax, or personal
  service, to all known creditors and parties in interest in this case, as well as the Office of the U.S.
  Trustee, and (b) file a certificate of such service by Tuesday, May 28, 2019 at 10:00 a.m.
3. The Bank, and any other party in interest who intends to introduce evidence at the hearing, shall file
  a notice of evidentiary hearing, by Wednesday May 29, 2019 at 10:00 a.m.
4. Any party who opposes, or wishes to respond to, the Bank’s Emergency Motion shall afile their
                                                                                     file their
  written opposition or response by Wednesday May 29, 2019 at 10:00 a.m.
5. The Bank shall appear to present its proof in support of the Emergency Motion, and any other party
  in interest who wishes to participate shall likewise appear at a hearing on Thursday, May 30, 2019 at
  10:00 a.m. at the United States Bankruptcy Court in Burlington, Vermont.

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May 24, 2019 at 5:10 pm                                                       Colleen A. Brown
Burlington, Vermont                                                           United States Bankruptcy Judge
